Case 5:15-Cv-00067-|\/| Document 17 Filed 09/16/15 Page 1 of 2

IN 'I.`HE UNITED S'I`ATES DISTRICT COUR'I`
FOR THE WESTERN DISTRICT OF OKLAH()MA

DELMA LAMAR SULLIVAN, )
Petitioner, §
v. § Case No. CI\/~15-67-I\/_ll
H.A. RIOS, Warden, Lawton §
Correctional Facility, )
Respondent. §
NOTICE OF APPEAL

 

Notice is hereby given that Delma Su}livan, Petitioner in the above~nalned
Distriot Court case from the Western Distriet of Oklahoma, by and through his
attorney of reeord, I\/I. Miehaei Arnett of the Arnett LaW Firm, hereby appeals to
the United States Court of Appeals for the Tenth Cireuit from the ()rder and
Judglnent entered in the above~described proceeding on August 18, 2015.

Respectfully Submitted,

S/ M. Miehael Arnett

M. Michaef Arnett, OBA# 12071
ARNETT LAW FIRM

3133 N.W. 63“* Srr@@t
Oklahonqa City, OK 731 16
Telephone: 405.767.0522
Faesimile: 405.767.0'529

a1frachel@ooxinet.net

Page l of`Z

Case 5:15-Cv-00067-|\/| Document 17 Filed 09/16/15 Page 2 of 2

CERTIFICATE OF SERVICE

This is to certify that on this 16th day of September, 2035, I electronically
transmitted the foregoing document to the Clerk of the Court using the ECF
System for filing and based on the records currently on tiie, the Clerk will transmit
a Notice of Electronic Filing to the following ECF registrants:

'l`iinothy J. Downing, Assistant Attorney General
E-mail: thc.docket@oag.ok.us

/s/ M. Michacl Arnett
M. Michael Arnett

Page 2 of 2

